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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
 BONILLA-SANTIAGO, et al.,                    ) CASE NO. 1:20-cv-02524-TSC
                                              )
                       Plaintiffs,            )
 v.                                           )
                                              )
 BLB PRIVATIZED HOUSING, LLC, et              )
 al.,                                         )
                                              )
                       Defendants.            )
                                              )

                 Certificate Required by LCvR 26.1 of the Local Rules of the
                  United States District Court for the District of Columbia

        I, the undersigned, counsel of record for Defendant BLB Privatized Housing, LLC,

certify that to the best of my knowledge and belief, the following are parent companies,

subsidiaries, affiliates, or companies which own at least 10% of the stock of BLB Privatized

Housing, LLC which have any outstanding securities in the hands of the public:

        NONE

        These representations are made in order that judges of this Court may determine the need

for recusal.

        Respectfully submitted this 17th day of November 2020.

                                             /s/ Laura B. LoBue
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